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  7
                           UNITED STATES DISTRICT COURT
  8
                          CENTRAL DISTRICT OF CALIFORNIA
  9
       Andrew Gross,                      ) Case No. 2:20-cv-7086
  10
                                          )
  11   Plaintiff,                         ) COMPLAINT AND TRIAL BY
  12                                      ) JURY DEMAND
              vs.                         )
  13
                                          )
  14   TitleMax of California, Inc. dba   )
       TitleMax, MVConnect, LLC, and John )
  15
       Does I-X,                          )
  16                                      )
  17
       Defendants.                        )

  18
                                   NATURE OF ACTION
  19
             1.    Plaintiff Andrew Gross (“Mr. Gross”) brings this action against
  20

  21   Defendants, TitleMax of California, Inc. dba TitleMax (“TitleMax”), MVConnect,
  22
       LLC (“MVC”), and John Does I-X (“DOES I-X”) pursuant to the Fair Debt
  23

  24   Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq., the Rosenthal Fair
  25
       Debt Collection Practices Act (“RFDCPA”), Cal. Civ. Code § 1788 et seq., and
  26
       Article 9 of Uniform Commercial Code, as enacted by the state of California, Cal.
  27

  28   Com. Code § 9101 et seq.



                                           Complaint - 1
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  1
                          JURISDICTION, VENUE, AND STANDING
  2
              2.     This Court has jurisdiction pursuant to 15 U.S.C. § 1692k(d), 28
  3

  4    U.S.C. § 1367, and 28 U.S.C. § 1331.
  5
              3.     Plaintiff has Article III standing to bring this action, as it seeks to
  6

  7    redress conduct by Defendants that caused Plaintiff to suffer harms, which
  8
       Congress has made legally cognizable in passing the FDCPA. See Spokeo, Inc. v.
  9
       Robins, 136 S. Ct. 1540, 1549, 194 L. Ed. 2d 635 (2016), as revised (May 24,
  10

  11   2016) (Congress is “well positioned to identify intangible harms that meet
  12
       minimum Article III requirements,” and thus “may ‘elevat[e] to the status of
  13

  14   legally cognizable injuries concrete, de facto injuries that were previously
  15
       inadequate in law.’” (quoting Lujan v. Defs of Wildlife, 504 U.S. 555, 578 (1992));
  16

  17
       Lane v. Bayview Loan Servicing, LLC, No. 15 C 10446, 2016 WL 3671467, at *3

  18   (N.D. Ill. July 11, 2016) (“Without the protections of the FDCPA, Congress
  19
       determined, the ‘[e]xisting laws and procedures for redressing these injuries are
  20

  21   inadequate to protect consumers.’” (quoting 15 U.S.C. § 1692(b)).
  22
              4.     Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b),
  23

  24   where the acts and transactions giving rise to Plaintiff’s action occurred in this
  25
       district, where Plaintiff reside in this district, and where Defendants transact
  26
       business in this district.
  27

  28




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  1
                    THE FAIR DEBT COLLECTION PRACTICES ACT
  2
             5.     Congress enacted the FDCPA in order to eliminate “abusive debt
  3

  4    collection practices by debt collectors [and] to insure that those debt collectors who
  5
       refrain from using abusive debt collection practices are not competitively
  6

  7    disadvantaged.” Clark v. Capital Credit & Collection Servs., Inc., 460 F.3d 1162,
  8
       1179-80 (9th Cir. 2006) (citing 15 U.S.C. § 1692(e)).
  9
             6.     To protect consumers and ensure compliance by debt collectors, “the
  10

  11   FDCPA is a strict liability statute.” McCollough v. Johnson, Rodenburg &
  12
       Lauinger, LLC, 637 F.3d 939, 948 (9th Cir. 2011).
  13

  14         7.     Strict liability enhances “the remedial nature of the statute,” and
  15
       courts are “to interpret it liberally” to protect consumers. Clark, 460 F.3d at 1176.
  16

  17
             8.     “In addition, by making available to prevailing consumers both

  18   statutory damages and attorneys’ fees, Congress ‘clearly intended that private
  19
       enforcement actions would be the primacy enforcement tool of the Act.’” Id.
  20

  21   (quoting Baker v. G.C. Servs. Corp., 677 F.2d 775, 780-81 (9th Cir. 1982)).
  22
             9.     Violations of the FDCPA are assessed under the least sophisticated
  23

  24   consumer standard which is “‘designed to protect consumers of below average
  25
       sophistication or intelligence,’ or those who are ‘uninformed or naïve,’ particularly
  26
       when those individuals are targeted by debt collectors.” Gonzales v. Arrow Fin.
  27

  28




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  1    Servs., LLC, 660 F.3d 1055, 1061 (9th Cir. 2011) (quoting Duffy v. Landberg, 215
  2
       F.3d 871, 874-75 (8th Cir. 2000)).
  3

  4          10.    “An FDCPA Plaintiff need not even have actually been misled or
  5
       deceived by the debt collector’s representation; instead, liability depends on
  6

  7    whether the hypothetical ‘least sophisticated debtor’ likely would be misled.”
  8
       Tourgeman v. Collins Fin. Servs., Inc., 755 F.3d 1109, 1117-18 (9th Cir. 2014)
  9
       (emphasis in original).
  10

  11         11.    “[B]ecause the FDCPA is a remedial statute aimed at curbing what
  12
       Congress considered to be an industry-wide pattern of and propensity towards
  13

  14   abusing debtors, it is logical for debt collectors—repeat players likely to be
  15
       acquainted with the legal standards governing their industry—to bear the brunt of
  16

  17
       the risk.” Clark, 460 F.3d at 1171-72; see also FTC v. Colgate–Palmolive Co., 380

  18   U.S. 374, 393 (1965) (“[I]t does not seem unfair to require that one who
  19
       deliberately goes perilously close to an area of proscribed conduct shall take the
  20

  21   risk that he may cross the line.”) (internal quotations omitted).
  22
             12.    For the purpose of 15 U.S.C. § 1692f(6), a “debt collector” also
  23

  24   includes “any person who uses any instrumentality of interstate commerce or the
  25
       mails in any business the principal purpose of which is the enforcement of security
  26
       interests.” 15 U.S.C. § 1692a(6).
  27

  28




                                             Complaint - 4
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  1          13.    The FDCPA prohibits such persons, such as tow operators or
  2
       repossession companies, from taking any nonjudicial action to effect dispossession
  3

  4    or disablement of property if there is no present right to take possession of the
  5
       property. 15 U.S.C. § 1692f(6).
  6

  7        THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
  8
             14.    “California has adopted a state version of the FDCPA, called the
  9
       Rosenthal Act.” Riggs v. Prober & Raphael, 681 F.3d 1097, 1100 (9th Cir. 2012).
  10

  11         15.    Like the FDCPA, the purpose of the RFDCPA is to “prohibit debt
  12
       collectors from engaging in unfair or deceptive acts or practices in the collection of
  13

  14   consumer debts and to require debtors to act fairly in entering into and honoring
  15
       such debts, as specified in this title.” Cal. Civ. Code § 1788.1(b).
  16

  17
             16.    “The Rosenthal Act mimics or incorporates by reference the

  18   FDCPA’s requirements . . . and makes available the FDCPA’s remedies for
  19
       violations.” Riggs, 681 F.3d at 1100.
  20

  21         17.    “[A] plaintiff who recovers under the FDCPA is entitled to damages
  22
       under the corresponding section of the RFDCPA.” Costa v. Nat’l Action Fin.
  23

  24   Servs., 634 F. Supp. 2d 1069, 1077 (E.D. Cal. 2007).
  25
                           THE UNIFORM COMMERCIAL CODE
  26
             18.    “Article 9 of the UCC is a comprehensive statutory scheme governing
  27

  28   the rights and relationships between secured parties, debtors, and third parties.”



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  1    McCullough v. Goodrich & Pennington Mortg. Fund, Inc., 373 S.C. 43, 53, 644
  2
       S.E.2d 43, 49 (2007).
  3

  4          19.   Article 9 serves “to provide a simple and unified structure within
  5
       which the immense variety of present-day secured financing transactions can go
  6

  7    forward with less cost and with greater certainty.” Haas' Estate v. Metro–
  8
       Goldwyn–Mayer, Inc., 617 F.2d 1136, 1140 (5th Cir. 1980).
  9
             20.   After a default, the UCC gives secured parties the right to repossess
  10

  11   collateral. See Cal. Com. Code § 9609.
  12
             21.   There is one restriction, however, which the law imposes upon this
  13

  14   right. It must be exercised without provoking a breach of the peace; and, if a
  15
       secured party finds that it cannot get possession without committing a breach of the
  16

  17
       peace, it must stay its hand, and resort to the law. Henderson v. Sec. Nat. Bank, 72

  18   Cal. App. 3d 764, 770, 140 Cal. Rptr. 388, 391 (Ct. App. 1977); see also MBank El
  19
       Paso, N.A. v. Sanchez, 836 S.W.2d 151, 152 (Tex. 1992).
  20

  21         22.   This is so because the preservation of peace, is of more importance to
  22
       society than the right of the owner of a chattel to get possession of it. Henderson,
  23

  24   72 Cal. App. 3d at 770; Willis v. Whittle, 82 S.C. 500, 64 S.E. 410 (1909); see
  25
       also Singer Sewing Mach. Co. v. Phipps, 49 Ind.App. 116, 94 N.E. 793 (1911)
  26
       (quoting 3 William Blackstone, Commentaries *4) (“[T]his natural right of
  27

  28




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  1    recaption shall never be exerted, where such exertion must occasion strife . . . or
  2
       endanger the peace of society.”).
  3

  4                                          PARTIES
  5
             23.      Mr. Gross is a natural person that at all relevant times resided in Los
  6

  7    Angeles, California.
  8
             24.      Mr. Gross is a natural person allegedly obligated to pay a debt
  9
       asserted to be owed or due to TitleMax.
  10

  11         25.      Mr. Gross’s alleged obligation arises from a transaction in which the
  12
       money, property, insurance, or services that are the subject of the transaction were
  13

  14   incurred primarily for personal, family, or household purposes—namely, a
  15
       personal loan (the “Debt”).
  16

  17
             26.      Mr. Gross is a “consumer” as defined by 15 U.S.C. § 1692a(3).

  18         27.      TitleMax is a company that regularly purchases consumer paper in the
  19
       form of automobile loans.
  20

  21         28.      TitleMax is a “secured party” as defined by Cal. Com. Code §
  22
       9102(a)(73).
  23

  24         29.      TitleMax is a “debt collector” as defined by Cal. Civ. Code §
  25
       1788.2(c).
  26
             30.      Defendant MVC is an Illinois limited liability company that does
  27

  28   business in California.



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  1          31.      At all relevant times, MVC was an entity using instrumentalities of
  2
       interstate commerce or the mails in any business the principal purpose of which is
  3

  4    the enforcement of security interests.
  5
             32.      MVC is a “debt collector” as defined by 15 U.S.C. § 1692a(6).
  6

  7          33.      Plaintiff is ignorant of the true names and/or capacities, whether
  8
       individual, partnership, limited partnership, corporate, or otherwise, of the
  9
       defendants sued herein as Does I-X, and therefore sues such defendants by such
  10

  11   fictitious names until such times as their true names and/or capacities are
  12
       ascertained
  13

  14         34.      At all relevant times, Does I-X were persons or entities using
  15
       instrumentalities of interstate commerce or the mails in any business the principal
  16

  17
       purpose of which is the enforcement of security interests.

  18         35.      Does I-X are “debt collectors” as defined by 15 U.S.C. § 1692a(6).
  19
                                   FACTUAL ALLEGATIONS
  20

  21         36.      In April of 2019, Plaintiff obtained a loan from Defendant Titlemax.
  22
             37.      In connection with the loan, Plaintiff executed a loan agreement (the
  23

  24   “Contract”).
  25
             38.      As part of the agreement, Plaintiff provided Titlemax a security
  26
       interest in his 2004 BMW 5-Series (the “Vehicle”).
  27

  28




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  1          39.      Mr. Gross purchased the Vehicle for his own personal, family, and
  2
       household use.
  3

  4          40.      The Vehicle constitutes “consumer goods” as defined by Cal. Com.
  5
       Code § 9102(a)(23).
  6

  7          41.      The Vehicle constitutes “collateral” as defined by Cal. Com. Code §
  8
       9102(a)(12).
  9
             42.      Thereafter, TitleMax engaged its repossession agents, MVC to
  10

  11   repossess Mr. Gross’s vehicle.
  12
             43.      MVC in turn hired Does I-X to effect the actual repossession of Mr.
  13

  14   Gross’s vehicle.
  15
             44.      On the afternoon of February 15, 2020, Does I-X went to Mr. Gross’s
  16

  17
       residence to repossess the Vehicle.

  18         45.      Mr. Gross noticed Does I-X’s arrival and ran out and protested the
  19
       repossession and demanded that Does I-X immediately leave his property.
  20

  21         46.      Instead of ceasing the repossession and trying again later, Does I-X
  22
       began a verbal confrontation with Mr. Gross that went on for hours.
  23

  24         47.      During this confrontation, Mr. Gross repeatedly demanded that Does
  25
       I-X immediately leave the property and they refused.
  26
             48.      During this period, Does I-X aggressively cussed at Mr. Gross and
  27

  28   told him that “I will knock your ass out clean.”



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   1          49.    Eventually Mr. Gross and his girlfriend advised Does I-X that they
   2
        would call the police.
   3

   4          50.    Does I-X responded “I did 10 years in prison, I don’t give a fuck
   5
        about the cops.”
   6

   7          51.    Eventually the police arrived on the scene and told Does I-X they
   8
        could go forward with the repossession.
   9
              52.    But for the officer’s assistance the repossession could not have been
   10

   11   completed.
   12
              53.    While Does I-X were attempting to repossess the vehicle they crashed
   13

   14   into support beams of Mr. Gross’s home and damaged them, moreover they
   15
        damaged Mr. Gross’s lawn and a tarp.
   16

   17
                                       COUNT I
                            VIOLATION OF 15 U.S.C. § 1692f(6)(A)
   18                                  DOES I-X
   19
              54.    Mr. Gross repeats and re-alleges each factual allegation contained
   20

   21   above.
   22
              55.    California law provides that secured parties may take possession of
   23
        collateral without judicial action so long as there is no “breach of the peace.” Cal.
   24

   25   Com. Code § 9609(b)(2).
   26
              56.    However if collateral cannot be repossessed without a breach of the
   27

   28   peace, a party must get a court order to take possession of the collateral. Id.



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   1          57.    A repossession agent breaches the peace if he continues with a
   2
        repossession over a consumer’s protest. See Marcus v. McCollum, 394 F.3d 813,
   3

   4    820 (10th Cir. 2004); Dixon v. Ford Motor Credit Co., 72 Ill. App. 3d 983, 988,
   5
        391 N.E.2d 493, 497 (1979); Hollibush v. Ford Motor Credit Co., 179 Wis. 2d
   6

   7    799, 812, 508 N.W.2d 449, 455 (Ct. App. 1993) (“We conclude that the undisputed
   8
        fact is that Hollibush or her fiancé told FMCC’s agent that he was not to repossess
   9
        the vehicle, and that he nonetheless did so. We conclude that this constitutes a
   10

   11   breach of the peace.”); Ford Motor Credit Co. v. Cole, 503 S.W.2d 853, 855 (Tex.
   12
        Civ. App. 1973), dismissed (Apr. 3, 1974) (because consumer protested
   13

   14   repossession secured party was forced to either go to court or repossess vehicle at
   15
        time when the consumer would not notice and protest); Census Fed. Credit Union
   16

   17
        v. Wann, 403 N.E.2d 348, 352 (Ind. Ct. App. 1980) (“[I]f [a] repossession is

   18   verbally or otherwise contested at the actual time of and in the immediate vicinity
   19
        of the attempted repossession by the defaulting party or other person in control of
   20

   21   the chattel, the secured party must desist and pursue his remedy in court.”); First &
   22
        Farmers Bank of Somerset, Inc. v. Henderson, 763 S.W.2d 137, 140 (Ky. Ct. App.
   23

   24   1988) (“[I]t is clear that repossession in the face of the debtor’s objection
   25
        constitutes a breach of the peace.”); Morris v. First Nat. Bank & Tr. Co. of
   26
        Ravenna, 21 Ohio St. 2d 25, 30, 254 N.E.2d 683, 686 (1970); Hopkins v. First
   27

   28   Union Bank of Savannah, 193 Ga. App. 109, 110, 387 S.E.2d 144, 146 (1989)



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   1    (agreeing with most courts that repossession in the face of a debtor’s oral protest
   2
        constitutes a breach of the peace); Martin v. Dorn Equip. Co., 250 Mont. 422, 427,
   3

   4    821 P.2d 1025, 1028 (1991) (quoting J. Sheldon & R. Sable, Repossessions, § 6.3
   5
        (1988)) (“ ‘[T]he general rule is that the creditor cannot . . . seize any property over
   6

   7    the debtor’s objections.’ ”).
   8
              58.    Plaintiff unequivocally protested the repossession.
   9
              59.    Once Plaintiff protested the repossession, Does I-X lost the right to
   10

   11   continue with the repossession
   12
              60.    Nonetheless, Does I-X continued with their repossession and thereby
   13

   14   breached the peace.
   15
              61.    Likewise, a repossession agent breaches the peace if he damages a
   16

   17
        debtor’s other property during a repossession. See In re 53 Foot Trawler Pegasus,

   18   No. 608-CV-117-ORL-18DAB, 2008 WL 4938345, at *4 (M.D. Fla. Nov. 18,
   19
        2008) (damaging debtor property during a repossession a breach of the peace);
   20

   21   Bloomquist v. First Nat. Bank of Elk River, 378 N.W.2d 81, 86 (Minn. Ct. App.
   22
        1985) (damaging property to enter premises breach of the peace and “appalling”);
   23

   24   Quest v. Barnett Bank of Pensacola, 397 So. 2d 1020, 1024 (Fla. Dist. Ct. App.
   25
        1981) (damaging debtor property during a repossession a breach of the peace); cf.
   26
        Rivera v. Dealer Funding, LLC, 178 F. Supp. 3d 272, 281 (E.D. Pa. 2016) (damage
   27

   28   to property that did not occur during repossession was not breach of the peace);



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   1    Chrysler Fin. Co. v. Flynn, 88 S.W.3d 142, 150 (Mo. Ct. App. 2002) (noting
   2
        damage to debtor’s property as one of the potential factual predicates leading to
   3

   4    breach of peace); Davenport v. Chrysler Credit Corp., 818 S.W.2d 23, 29 (Tenn.
   5
        Ct. App. 1991) (noting that courts have consistently found that repossessions
   6

   7    accomplished by damaging debtor property to be inconsistent with the Uniform
   8
        Commercial Code).
   9
              62.    During the repossession, Does I-X damaged Mr. Gross’s non-
   10

   11   collateral property and thereby breached the peace.
   12
              63.    During the repossession, Does I-X used threats of violence to coerce
   13

   14   Plaintiff to cease his protest of the repossession, and thereby breached the peace.
   15
              64.    Additionally, enlisting the assistance of law enforcement to
   16

   17
        accomplish a repossession constitutes a constructive use of force—which is

   18   likewise a breach of the peace. See Albertorio-Santiago v. Reliable Fin. Services,
   19
        612 F. Supp. 2d 159 (D. P.R. 2009) (breach of peace has occurred because
   20

   21   presence of officer is sufficient to chill exercise of debtor’s rights, and creditor
   22
        must resort to judicial intervention); In re MacLeod, 118 B.R. 1 (Bankr. D.N.H.
   23

   24   1990) (off-duty police restrained debtor from objecting; held to violate U.C.C. § 9-
   25
        503); Walker v. Walthall, 588 P.2d 863 (Ariz. Ct. App. 1978); Dolphin Truck
   26
        Leasing v. Gen. Motors Acceptance Corp., 340 So. 2d 1278 (Fla. Dist. Ct. App.
   27

   28   1977); Fulton v. Anchor Sav. Bank, 452 S.E.2d 208 (Ga. Ct. App. 1994) (police



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   1    order to give up car precludes voluntary surrender); Firebaugh v. Gunther, 233 P.
   2
        460 (Okla. 1925); Harris v. Cantwell, 614 P.2d 124 (Or. Ct. App. 1980); Stone
   3

   4    Mach. Co. v. Kessler, 1 Wash. App. 750, 757, 463 P.2d 651, 655 (1970).
   5
              65.    Does I-X enlisted the help of law enforcement to accomplish their
   6

   7    repossession and thereby breached the peace.
   8
              66.    A repossession agent’s breach of the peace negates a right to
   9
        possession. See Clark v. PAR, Inc., No. CV1502322MWFFFMX, 2015 WL
   10

   11   13781846, at *5 (C.D. Cal. July 22, 2015) (collecting cases); 15 U.S.C. § 1692f(6).
   12
        See Clark v. PAR, Inc., No. CV1502322MWFFFMX, 2015 WL 13781846, at *5
   13

   14   (C.D. Cal. July 22, 2015) (collecting cases); 15 U.S.C. § 1692f(6); see also Oliver
   15
        v. ARS Ohio LLC, No. 5:18-CV-967, 2019 WL 343249, at *4 n. 5 (N.D. Ohio Jan.
   16

   17
        28, 2019) (noting that under applicable law, “a security-interest enforcer loses its

   18   right to present possession of the collateral if it breaches the peace”); Wright v.
   19
        Santander Consumer USA, Inc., No. 618CV263ORL22KRS, 2018 WL 2095171, at
   20

   21   *4 (M.D. Fla. May 1, 2018) (“If a repossession agency breaches the peace during a
   22
        self-help repossession, then it loses its right to present possession of the
   23

   24   collateral.”); Vantu v. Echo Recovery, L.L.C., 85 F. Supp. 3d 939, 943 (N.D. Ohio
   25
        2015) (“In general, a security-interest enforcer loses its right to present possession
   26
        of the collateral if it breaches the peace.”); Alexander v. Blackhawk Recovery &
   27

   28   Investigation, L.L.C., 731 F. Supp. 2d 674, 680 (E.D. Mich. 2010); Fleming-



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   1    Dudley v. Legal Investigations, Inc., No. 05 C 4648, 2007 WL 952026, at *5 (N.D.
   2
        Ill. Mar. 22, 2007); Purkett v. Key Bank USA, Inc., No. 01 C 162, 2001 WL
   3

   4    503050, at *2 (N.D. Ill. May 10, 2001).
   5
              67.      Because Does I-X breached the peace, they had no right to possession
   6

   7    of the Vehicle.
   8
              68.      Does I-X violated 15 U.S.C. § 1692f(6)(A) by taking non-judicial
   9
        action to effect dispossession of Plaintiff’s property where the property was
   10

   11   exempt by law from such dispossession.
   12
              WHEREFORE, Mr. Gross prays for relief and judgment, as follows:
   13

   14               a) Adjudging that Does I-X violated 15 U.S.C. § 1692f(6)(A);
   15
                    b) Awarding Mr. Gross statutory damages, pursuant to 15 U.S.C. §
   16

   17
                       1692k(a)(2)(A), in the amount of $1,000.00;

   18               c) Awarding Mr. Gross actual damages, pursuant to 15 U.S.C. §
   19
                       1692k(a)(1);
   20

   21               d) Awarding Mr. Gross reasonable attorneys’ fees and costs incurred in
   22
                       this action pursuant to 15 U.S.C. § 1692k(a)(3);
   23

   24               e) Awarding Mr. Gross pre-judgment and post-judgment interest as
   25
                       permissible by law; and
   26
                    f) Awarding such other and further relief as the Court may deem proper.
   27

   28




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   1
                                         COUNT II
   2                          VIOLATION OF 15 U.S.C. § 1692f(6)(A)
                                           MVC
   3

   4          69.    Mr. Gross repeats and re-alleges each factual allegation contained
   5
        above.
   6
              70.    California law provides that secured parties may take possession of
   7

   8    collateral without judicial action so long as there is no “breach of the peace.” Cal.
   9
        Com. Code § 9609(b)(2).
   10

   11         71.    However if collateral cannot be repossessed without a breach of the
   12
        peace, a party must get a court order to take possession of the collateral. Id.
   13

   14
              72.    A repossession agent breaches the peace if he continues with a

   15   repossession over a consumer’s protest.
   16
              73.    Plaintiff unequivocally protested the repossession.
   17

   18         74.    Once Plaintiff protested the repossession, Does I-X lost the right to
   19
        continue with the repossession
   20

   21         75.    Nonetheless, Does I-X continued with their repossession and thereby
   22
        breached the peace.
   23
              76.    Likewise, a repossession agent breaches the peace if he damages a
   24

   25   debtor’s other property during a repossession.
   26
              77.    During the repossession, Does I-X damaged Mr. Gross’s non-
   27

   28   collateral property and thereby breached the peace.



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   1          78.      During the repossession, Does I-X used threats of violence to coerce
   2
        Plaintiff to cease his protest of the repossession, and thereby breached the peace.
   3

   4          79.      Additionally, enlisting the assistance of law enforcement to
   5
        accomplish a repossession constitutes a constructive use of force—which is
   6

   7    likewise a breach of the peace.
   8
              80.      Does I-X enlisted the help of law enforcement to accomplish their
   9
        repossession and thereby breached the peace.
   10

   11         81.      A repossession agent’s breach of the peace negates a right to
   12
        possession.
   13

   14         82.      Because Does I-X breached the peace, they had no right to possession
   15
        of the Vehicle.
   16

   17
              83.      Does I-X violated 15 U.S.C. § 1692f(6)(A) by taking non-judicial

   18   action to effect dispossession of Plaintiff’s property where the property was
   19
        exempt by law from such dispossession.
   20

   21         84.      MVC, as the debt collector that hired Does I-X, is liable for Does I-
   22
        X’s violation of the FDCPA.
   23

   24         WHEREFORE, Mr. Gross prays for relief and judgment, as follows:
   25
                    a) Adjudging that Does I-X violated 15 U.S.C. § 1692f(6)(A);
   26
                    b) Adjudging that MVC as the debt collector that hired Does I-X, is
   27

   28                  liable for Does I-X’s violation of the FDCPA;



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   1                c) Awarding Mr. Gross statutory damages, pursuant to 15 U.S.C. §
   2
                       1692k(a)(2)(A), in the amount of $1,000.00;
   3

   4                d) Awarding Mr. Gross actual damages, pursuant to 15 U.S.C. §
   5
                       1692k(a)(1);
   6

   7                e) Awarding Mr. Gross reasonable attorneys’ fees and costs incurred in
   8
                       this action pursuant to 15 U.S.C. § 1692k(a)(3);
   9
                    f) Awarding Mr. Gross pre-judgment and post-judgment interest as
   10

   11                  permissible by law; and
   12
                    g) Awarding such other and further relief as the Court may deem proper.
   13

   14                                  COUNT III
                         VIOLATION OF CAL. COM. CODE § 9609(b)(2)
   15
                                      TITLEMAX
   16
              85.      Mr. Gross repeats and re-alleges each factual allegation contained
   17

   18   above.
   19
              86.      California law provides that secured parties may take possession of
   20

   21   collateral without judicial action so long as there is no “breach of the peace.” Cal.
   22
        Com. Code § 9102(b)(2).
   23
              87.      However if collateral cannot be repossessed without a breach of the
   24

   25   peace, a party must get a court order to take possession of the collateral. Id.
   26
              88.      Secured creditors have a nondelegable duty not to breach the peace
   27

   28   when they repossess secured collateral. Rand v. Porsche Fin. Servs., 216 Ariz.



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   1    424, 434, 167 P.3d 111, 121 (Ct. App. 2007) (“[W]e hold that the nondelegable
   2
        duty exception applies to independent contractors hired to accomplish the self-
   3

   4    help repossession of a motor vehicle.”); see also Doucette v. Belmont Sav. Bank,
   5
        No. ESCV20161596D, 2017 WL 2427566, at *2 (Mass. Super. Apr. 14, 2017);
   6

   7    Binion v. Fletcher Jones of Chicago, Ltd., 2014 IL App (1st) 131710-U, ¶ 19;
   8
        Williamson v. Fowler Toyota, Inc., 1998 OK 14, 956 P.2d 858; DeMary v. Rieker,
   9
        302 N.J. Super. 208, 695 A.2d 294 (App. Div. 1997); Robinson v. Citicorp Nat.
   10

   11   Servs., Inc., 921 S.W.2d 52, 55 (Mo. Ct. App. 1996); Mauro v. Gen. Motors
   12
        Acceptance Corp., 164 Misc. 2d 871, 876, 626 N.Y.S.2d 374, 377 (Sup. Ct. 1995);
   13

   14   Clark v. Assocs. Commercial Corp., 877 F. Supp. 1439, 1448 (D. Kan. 1994);
   15
        Hester v. Bandy, 627 So. 2d 833, 843 (Miss. 1993); MBank El Paso, N.A. v.
   16

   17
        Sanchez, 836 S.W.2d 151, 154 (Tex. 1992); Sammons v. Broward Bank, 599 So.

   18   2d 1018, 1019 (Fla. Dist. Ct. App. 1992); McCall v. Owens, 820 S.W.2d 748, 752
   19
        (Tenn. Ct. App. 1991); Massengill v. Indiana Nat'l Bank, 550 N.E.2d 97, 99 (Ind.
   20

   21   Ct. App.1990); Nichols v. Metro. Bank, 435 N.W.2d 637, 640 (Minn. Ct. App.
   22
        1989); Gen. Fin. Corp. v. Smith, 505 So. 2d 1045, 1047 (Ala. 1987); Henderson v.
   23

   24   Security Nat'l Bank, 72 Cal. App.3d 764, 140 Cal. Rptr. 388, 390–91 (1977).
   25
              89.   Moreover, the official comments to the California Commercial Code
   26
        provide: “In considering whether a secured party has engaged in a breach of the
   27

   28   peace, however, courts should hold the secured party responsible for the actions of



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   1    others taken on the secured party’ behalf, including independent contractors
   2
        engaged by the secured party to take possession of collateral.” Cal. Com. Code §
   3

   4    9609(b)(2) at Official Comment 3.
   5
              90.      TitleMax’s repossession agents, Does I-X, breached the peace by: (1)
   6

   7    Continuing with their repossession in the face of Plaintiff’s unequivocal protest,
   8
        (2) damaging Plaintiff's non-collateral property during the repossession; (3)
   9
        threatening violence during the repossession (4) enlisting the assistance of law
   10

   11   enforcement officers to accomplish the repossession.
   12
              91.      TitleMax as the secured party that hired Does I-X is liable for their
   13

   14   breaches of the peace.
   15
              92.      TitleMax violated Cal. Com. Code § 9102(b)(2) when its repossession
   16

   17
        agents breached the peace to repossess Mr. Gross’s Vehicle.

   18         WHEREFORE, Mr. Gross prays for relief and judgment, as follows:
   19
                    a) Adjudging that TitleMax violated Cal. Com. Code § 9102(b)(2);
   20

   21               b) Awarding Mr. Gross damages, pursuant to Cal. Com. Code § 9625(c);
   22
                    c) Awarding Mr. Gross pre-judgment and post-judgment interest as
   23

   24                  permissible by law; and
   25
                    d) Awarding such other and further relief as the Court may deem proper.
   26

   27

   28




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   1
                                      COUNT III
   2                      VIOLATION OF CAL. CIV. CODE § 1788.17
                                  ALL DEFENDANTS
   3

   4          93.     Mr. Gross repeats and re-allege each factual allegation contained
   5
        above.
   6
              94.     Does I-X violated 15 U.S.C. § 1692f(6).
   7

   8          95.     By violating 15 U.S.C. § 1692f(6), Does I-X violated Cal. Civ. Code §
   9
        1788.17.
   10

   11         96.     MVC, through its agents Does I-X, violated 15 U.S.C. § 1692f(6).
   12
              97.     TitleMax, through its agents Does I-X, violated 15 U.S.C. § 1692f(6).
   13

   14
              98.     By violating 15 U.S.C. § 1692f(6), TitleMax violated Cal. Civ. Code

   15   § 1788.17.
   16
              99.     By violating 15 U.S.C. § 1692f(6), MVC violated Cal. Civ. Code §
   17

   18   1788.17.
   19
              WHEREFORE, Mr. Gross prays for relief and judgment, as follows:
   20

   21               a) Adjudging that TitleMax, MVC, and Does I-X violated Cal. Civ.
   22
                      Code § 1788.17;
   23
                    b) Awarding Plaintiff statutory damages, pursuant to Cal. Civ. Code §
   24

   25                 1788.30(b), in the amount of $1,000.00;
   26
                    c) Awarding Plaintiff actual damages, pursuant to Cal. Civ. Code §
   27

   28                 1788.30(a);



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   1            d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in
   2
                   this action pursuant to Cal. Civ. Code § 1788.30(c);
   3

   4            e) Awarding Plaintiff pre-judgment and post-judgment interest as
   5
                   permissible by law; and
   6

   7            f) Awarding such other and further relief as the Court may deem proper.
   8
                                       TRIAL BY JURY
   9
             100. Plaintiff is entitled to and hereby demands a trial by jury.
   10

   11   Dated: August 6, 2020
   12                                          Respectfully submitted,
   13
                                               /s/ Russell S. Thompson, IV
   14                                          Russell S. Thompson, IV (Cal. Bar No.
                                               325944)
   15
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   16                                          5235 E. Southern Ave., D106-618
   17
                                               Mesa, AZ 85206
                                               Telephone: (602) 388-8898
   18                                          Facsimile: (866) 317-2674
   19                                          rthompson@ThompsonConsumerLaw.com
   20
                                               Attorneys for Plaintiff
   21

   22

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   28




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